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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

     MICHAEL W. ROGERS,                              )
                                                     )
                            Plaintiff,               )
                                                     )
     vs,                                             )
                                                     )
                                                              Case No.: 19-CV-3145-JAR-ADM
     SAM CLINE, et al,                               )
                                                     )
                             Defendants.             )
                                                     )

                                                ORDER

           THIS CAUSE having come before the Court on the parties’ Joint Motion to Stay All

Deadlines and to Continue the Current Trial Setting (Doc. 155), and the Court having fully

considered the Motion, the Court issues this Order which GRANTS the Motion. The Court hereby

ORDERS that pending the approval of the confidential settlement agreement by the Kansas state

finance council that:

1.         all current deadlines are hereby stayed pending approval of the confidential settlement

agreement by the Kansas state finance council;

2.         the December 13, 2022 trial is cancelled; and

3.         if the confidential settlement agreement is approved by the Kansas state finance council,

Plaintiff will promptly notify the Court to remove the case from the trial docket. If the

confidential settlement agreement is not approved by the Kansas state finance council, the parties

shall promptly notify the Court and this matter will be set for a telephonic conference in order to

reset the trial date.

           IT IS SO ORDERED.
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       Dated: October 5, 2022


                                                       S/ Julie A. Robinson
                                                      JULIE A. ROBINSON
                                                      UNITED STATES DISTRICT JUDGE



Copies to: All counsel on the attached Service List
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